 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1           Karie A Simmons
                   __________________________________________________________________                           this Statement:
                     First Name             Middle Name            Last Name

 Debtor 2            ________________________________________________________________                              1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name            Last Name                                           under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         ____western______     __________
                                                    District ofDistrict of ___wa_______                            2. Disposable income is determined
                                                                                                                       under 11 U.S.C. § 1325(b)(3).
 Case number        2210270
                    ___________________________________________
 (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                                ✔
                                                                                                                   4. The commitment period is 5 years.


                                                                                                                Check if this is an amended filing


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Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                            04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:           Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
    
    ✔     Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).                                                                                4,000.00
                                                                                                     $__________            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.                          $__________
                                                                                                            0.00            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                       0.00
                                                                                                     $_________             $__________

5. Net income from operating a business, profession, or
                                                                   Debtor 1      Debtor 2
    farm
    Gross receipts (before all deductions)                           $______      $______

    Ordinary and necessary operating expenses                     – $______ – $______
                                                                                             Copy
    Net monthly income from a business, profession, or farm             0.00
                                                                     $______      $______ here             0.00
                                                                                                     $_________            $__________

6. Net income from rental and other real property                  Debtor 1      Debtor 2

    Gross receipts (before all deductions)                           $______      $______

    Ordinary and necessary operating expenses                     – $______ – $______
                                                                                             Copy
    Net monthly income from rental or other real property               0.00
                                                                     $______      $______ here             0.00
                                                                                                     $_________            $__________



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Debtor 1                Karie A Simmons
                       _______________________________________________________                                                                                                              2210270
                                                                                                                                                                     Case number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A               Column B
                                                                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                         0.00
                                                                                                                                                                     $____________           $__________

8. Unemployment compensation                                                                                                                                                  0.00
                                                                                                                                                                     $____________           $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                       0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                     $_____________
                                                                                                                            0.00
9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.                                                                                                     0.00
                                                                                                                                                                     $____________           $__________

10. Income from all other sources not listed above. Specify the source and amount. Do
    not include any benefits received under the Social Security Act; payments made under
    the Federal law relating to the national emergency declared by the President under the
    National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
    disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
    against humanity, or international or domestic terrorism; or compensation, pension, pay,
    annuity, or allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the uniformed
    services. If necessary, list other sources on a separate page and put the total below.
        __________________________________________________________________
                                                                                                                                                                     $____________
                                                                                                                                                                             0.00           $___________

        __________________________________________________________________
                                                                                                                                                                     $____________          $___________

       Total amounts from separate pages, if any.                                                                                                              + $____________             + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                  4,000.00
                                                                                                                                                                     $____________     +    $___________        =     4,000.00
                                                                                                                                                                                                                    $________
                                                                                                                                                                                                                      Total average
                                                                                                                                                                                                                      monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                              $_____________
                                                                                                                                                                                                                      4,000.00
13. Calculate the marital adjustment. Check one:

     
     ✔    You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                               + $___________
           Total ................................................................................................................................................      $___________
                                                                                                                                                                                         Copy here            ─____________

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        4,000.00
                                                                                                                                                                                                                 $ __________

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Debtor 1             Karie A Simmons
                     _______________________________________________________                                                                                                              2210270
                                                                                                                                                                   Case number (if known)_____________________________________
                       First Name              Middle Name                       Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................    $ ____________
                                                                                                                                                                                                                                                 4,000.00
             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                                   48.00
                                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                   wa
                                                                                                              _________

     16b. Fill in the number of people in your household.                                                     _________
                                                                                                                       3


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                                   76.69
                                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Part 3:                Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11. ............................................................................................................................                                                           4,000.00
                                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                                                            ─ $__________

     19b. Subtract line 19a from line 18.                                                                                                                                                                                                     $__________
                                                                                                                                                                                                                                                4,000.00

20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                             $___________
                                                                                                                                                                                                                                                4,000.00
              Multiply by 12 (the number of months in a year).                                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                               48,000.00
                                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................                                                                                  76.69
                                                                                                                                                                                                                                             $___________


21. How do the lines compare?


          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




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Debtor 1    Karie A Simmons
             _______________________________________________________                                                2210270
                                                                                              Case number (if known)_____________________________________
             First Name     Middle Name         Last Name



Part 4:     Sign Below


            By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            Karie A Simmons
                ___________________________________________________                 ____________________________________
               Signature of Debtor 1                                                    Signature of Debtor 2


               Date 03/04/2022
                    _________________                                                   Date _________________
                      MM / DD   / YYYY                                                       MM /   DD    / YYYY

            If you checked 17a, do NOT fill out or file Form 122C–2.
            If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




           Print                          Save As...             Add Attachment                                                           Reset




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